Case 21-30085-sgj11 Doc 17 Filed 01/19/21                 Entered 01/19/21 13:15:21            Page 1 of 3


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PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-sgj11
OF AMERICA and                                    §
                                                  §
SEA GIRT LLC,                                     §                CASE NO. 21-30080-hdh11
                                                  §
          DEBTORS1                                §                Joint Administration Requested


                                        NOTICE OF HEARING
          PLEASE TAKE NOTICE that a hearing on the following pleadings has been scheduled

for Wednesday, January 20, 2021 at 2:00 p.m. Central Time before the Honorable Harlin D.

Hale, at the Earl Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom #3,

Dallas, TX 75242:

          1.     Debtors’ Emergency Motion for an Order Directing the Joint Administration of
                 Chapter 11 Cases [Docket No. 2];

          2.     Notice of Designation of Complex Chapter 11 Case [Sea Girt LLC Docket No.3
                 and National Rifle Association of America Docket No. 3];


1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


NOTICE OF HEARING                                                                                    PAGE 1
90309v1
Case 21-30085-sgj11 Doc 17 Filed 01/19/21           Entered 01/19/21 13:15:21        Page 2 of 3


          3.   Debtors’ Emergency Motion for Entry of an Order Extending the Time to File
               Schedules and Statements [Docket No. 4];

          4.   Debtors’ Emergency Motion for Authority to Continue Use of Existing Cash
               Management System, Maintain Existing Bank Accounts, Pay Certain Costs and
               Fees Associated with Credit Card Transactions, and Continue Use of Existing
               Business Forms [Docket No. 5];

          5.   Debtors’ Emergency Motion for Interim and Final Orders Authorizing Payment of
               Prepetition Employee Wages, Compensation, and Employee Benefits and Granting
               Related Relief [Docket No. 6];

          6.   Debtors’ Emergency Motion for Interim and Final Orders Authorizing the Debtors
               to Pay Certain Prepetition Taxes [Docket No. 7]; and

          PLEASE TAKE FURTHER NOTICE that the hearing will be conducted by

videoconference and teleconference via Webex. The Webex hearing link will be posted to Judge

Hale’s Hearing Dates and Calendar web page prior to the hearing and may be accessed from the

following link:     https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-hearing-

dates. Parties attending the hearing are requested to include their names on the Court’s electronic

sign-in sheet located on Judge Hale’s web page under “Electronic Appearances” located at the link

given above. Parties should also review, prior to the hearing, the Webex information attached

hereto.

Dated: January 19, 2021.

                                             Respectfully submitted,

                                             /s/ Patrick J. Neligan, Jr.
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NOTICE OF HEARING                                                                          PAGE 2
90309v1
Case 21-30085-sgj11 Doc 17 Filed 01/19/21   Entered 01/19/21 13:15:21   Page 3 of 3


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NOTICE OF HEARING                                                           PAGE 3
90309v1
